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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Robert E. Blackburn

Civil Action No. 23-cv-01888-REB
(Appeal from Bankruptcy Case No. 22-012455-TBM; Adv. Proc. 22-01258-TBM)

IN RE:

CHRISTOPHER PATRICK BOYD,

      Debtor.


HEMP RECOVERY COMPANY, LLC,

      Plaintiff / Appellee,

v.

CHRISTOPHER PATRICK BOYD,

      Defendant / Appellant.


                          ORDER ESTABLISHING BANKRUPTCY
                           APPEAL BRIEFING REQUIREMENTS

Blackburn, J.

      This bankruptcy appeal was filed on July 25, 2023. The parties shall comply with

Rule 8009 of the Federal Rules of Bankruptcy Procedure to ensure that the record on

appeal is prepared properly and promptly.

      After the record on appeal is docketed in this court, the parties shall tim ely file their

briefs under the schedule provided in Bankruptcy Rule 8018 and any relevant court orders

concerning those deadlines. Any motion for extension of the deadlines in Bankruptcy Rule

8018 requires a showing of good cause, which must be established with particularity.

The following DO NOT constitute good cause: agreement of counsel; inconvenience to

counsel or the parties; press of business or a “heavy workload;” conflicts in scheduling (a
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fortiori, when more than one attorney has entered an appearance for a party); or practice

as a solo practitioner.

       All briefs shall comply with all requirements of Bankruptcy Rule 8015 concerning

form, length, and all other matters specified in Rule 8015. When referencing a trial exhibit,

the parties shall attach a copy of the exhibit to their brief. If the court finds it necessary to

have an original exhibit, it will issue an order.

       Generally, all filings with the United States District Court for the District of Colorado

must be made electronically on the case management and electronic case filing system

(CM/ECF) of the court. The Electronic Case Filing Procedures (Civil Cases) of the

court provide for some exceptions to the electronic filing requirement, including an

exception for a party acting without an attorney. Those procedures are available on the

website of the district court at http://www.cod.uscourts.gov and shall be followed.

       Dated September 11, 2023, at Denver, Colorado.

                                                        BY THE COURT:




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